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                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

LULAC, et al.,

              Plaintiffs,

v.
                                                 Case No.: EP-21-CV-00259-DCG-JES-JVB
GREG ABBOTT, in his official capacity as                       [Lead Case]
Governor of Texas, et al.,

              Defendants.


           INDEX OF EXHIBITS TO BROOKS PLAINTIFFS’ MOTION FOR
            A PRELIMINARY INJUNCTION AS TO SENATE DISTRICT 10

Exhibit No.                                     Description
    1          Declaration of Senator Kel Seliger
    2          Declaration of Senator Beverly Powell
   2-A         Sen. Powell Letter to Chair Huffman dated 10-30-2019
   2-B         Sen. Powell Letter to Chair Huffman dated 02-18-2020
   2-C         Materials to Chair Huffman
    3          Declaration of Garry Jones
   3-A         Map of ACS 2014-2018 5-Year Estimates
   3-B         Sean Opperman Email re: Redistricting Dropbox Update dated 08-19-2021
   3-C         2018-2019 ACS Maps
   3-D         2018-2019 ACS Racial Population Change Maps
   3-E         Garry Jones Email to S. Opperman and A. Mackin re: Letter from Sen Powell
               to Sen Huffman dated 09-16-2021
     3-F       S. Opperman Reply Email, dated 09-17-2021
     3-G       Full Senate Email re: Regarding concerns with proposed redraw of SD10 dated
               09-18-2021
   3-H         Huffman Email Read Receipt
   3-I         S. Opperman Email re: Map Release dated 09-18-2021
   3-J         Written Testimony re: 09-24-2021 Hearing
3-K, Part 1    Powell Portal Submission, Part 1
3-K, Part 2    Powell Portal Submission, Part 2
   3-L         House Committee Email re: Concerns Regarding SB 4 and Proposed SD 10
               dated 10-10-2021
     3-M       Full House Email re: Concerns regarding SB4 and proposed redraw of SD10
               dated 10-14-2021
     3-N       Texas Demographic Center Report SD10
      4        Declaration of Eric Richard “Rick” Svatora
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   4-A        Svatora Notes
     5        Declaration of Representative Chris Turner
     6        Declaration of Mark P. Gaber
   6-A        Mackin Exhibit Objections Email
6-B, Part 1   Perez Racial Shading Exhibits, Part 1
6-B, Part 2   Perez Racial Shading Exhibits, Part 2
6-B, Part 3   Perez Racial Shading Exhibits, Part 3
6-B, Part 4   Perez Racial Shading Exhibits, Part 4
6-B, Part 5   Perez Racial Shading Exhibits, Part 5
   6-C        Mackin Email dated 07-14-2021
   6-D        Gov. Abbott Letter to Sen. Keliger and Rep. Darby dated 04-18-2013
   6-E        Senate Redistricting Hearing Transcript (04-18-2013)
6-F, Part 1   Senate Redistricting Hearing Transcript, Part 1 (05-30-2013)
6-F, Part 2   Senate Redistricting Hearing Transcript, Part 2 (05-30-2013)
   6-G        Senate Journal, 06-14-2013, 2nd day continued, Addendum
   6-H        Senate Journal, 06-14-2013, 3rd day
    6-I       Senate Journal, 10-04-21, 3rd day
    6-J       Senate Journal, 10-04-21, 4th day
   6-K        Senate Journal, 10-04-21, 4th day Addendum
   6-L        House Journal, 10-15-21, 6th day continued
   6-M        House Journal, 10-15-21, 7th day
     7        Report by Dr. Matt Barreto
     8        Declaration of Roy Charles Brooks
     9        Declaration of Felipe Gutierrez
    10        Declaration of Phyllis Goines
    11        Declaration of Eva Bonilla
    12        Declaration of Clara Faulkner
    13        Declaration of Deborah Spell
    14        Senate Redistricting Hearing Transcript (09-24-2021)
    15        Senate Redistricting Hearing Transcript (09-25-2021)
    16        Senate Redistricting Hearing Transcript (09-28-2021)
    17        Benchmark Plan Deviation Map
    18        Plan S2168 Map
    19        Plan S2168 Population Analysis
    20        Plan S2168 District Population and VAP
    21        Plan S2168 Incumbents by District
    22        Plan S2168 ACS
    23        Plan S2168 2018 Election
    24        Plan S2168 20 Election
    25        Plan S2100 Benchmark Map
    26        Plan S2100 District Population VAP
    27        Plan S2100 ACS
    28        Dallas/Fort Worth Hispanic VAP Benchmark Plan
    29        Dallas/Fort Worth Hispanic VAP Plan S2168
    30        Dallas/Fort Worth Black VAP Benchmark

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  31      Dallas/Fort-Worth Black VAP Plan S2168
  32      Alternative Plan 1 Maps
  33      Alternative Plan 1 Population Data
  34      Alternative Plan 1 ACS Data
  35      Alternative Plan 1 2018 Election Data
  36      Alternative Plan 1 2020 Election Data
  37      Alternative Plan 1 Incumbents by District
  38      Alternative Plan 2 Maps
  39      Alternative Plan 2 Population
  40      Alternative Plan 2 ACS Data
  41      Alternative Plan 2 2018 Election Data
  42      Alternative Plan 2 2020 Election Data
  43      Alternative Plan 2 Incumbents by District




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